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3                               UNITED STATES DISTRICT COURT
4                                      DISTRICT OF NEVADA
5                                                  ***
6     KEONIS LAMONT DAVIS,                               Case No. 3:20-cv-00587-MMD-CLB
7                                   Petitioner,                         ORDER
             v.
8

9     WILLIAM GITTERE, et al.,
10                              Respondents.
11

12

13          On October 19, 2020, the Court entered an order denying Petitioner Keonis

14   Davis’s motion to proceed in forma pauperis, but allowed him 30 days within which to pay

15   the $5.00 filing fee for this habeas corpus action. (ECF No. 3.) Petitioner has not complied

16   with the Court’s order within the allotted time. The Court thus will dismiss this action.

17   Additionally, reasonable jurists would not find the Court’s conclusion to be debatable or

18   wrong. The Court therefore will not issue a certificate of appealability.

19          It is therefore ordered that this action be dismissed without prejudice for

20   Petitioner’s failure to comply with the Court’s October 19, 2020 order.

21          It is further ordered that no certificate of appealability shall issue.

22          The Clerk of Court is directed enter judgment accordingly and close this case.

23          DATED THIS 11th Day of January 2021.

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25                                                MIRANDA M. DU
                                                  CHIEF UNITED STATES DISTRICT JUDGE
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